                                               United States Bankruptcy Court
                                                  District of New Mexico
In re:                                                                                                     Case No. 17-10498-j
Kathryn Ramona Esquibel                                                                                    Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 1084-1                  User: agrilley                     Page 1 of 1                          Date Rcvd: Mar 21, 2019
                                      Form ID: pdfor1                    Total Noticed: 6


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 23, 2019.
db             +Kathryn Ramona Esquibel,    260 South 6th Street,   Santa Rosa, NM 88435-2604
               +David Alton Kelly,   252 S. 6th Street,    P.O. Box 414,   Santa Rosa, NM 88435-0414
               +John Sexton,   3502 33rd Circle,    Rio Rancho, NM 87124-1931
                Michael K Daniels,   Attorney for Martin Lopez, III, PC,    PO Box 1640,
                 Albuquerque, NM 87103-1640
intp           +Sexton John,   3502 33rd Circle,    Rio Rancho, NM 87124-1931
               +Wesley O Pool,   Attorney for the Debtor,    201 Innsdale Terrace,   Clovis, NM 88101-3061

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 23, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 21, 2019 at the address(es) listed below:
              Benjamin A. Jacobs    on behalf of Trustee Yvette J. Gonzales bjacobs@askewmazelfirm.com,
               askewmazellawfirm@gmail.com;edmazel@askewmazelfirm.com;ericanunez@askewmazelfirm.com;maryvallejos
               @askewmazelfirm.com;askewmazeladmin@ecf.courtdrive.com;jarratt@askewmazelfirm.com
              Daniel Andrew White    on behalf of Trustee Yvette J. Gonzales dwhite@askewmazelfirm.com,
               askewmazellawfirm@gmail.com;ericanunez@askewmazelfirm.com;maryvallejos@askewmazelfirm.com;askewma
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              David Alton Kelly   alton@kgeenergy.com
              Edward Alexander Mazel    on behalf of Trustee Yvette J. Gonzales edmazel@askewmazelfirm.com,
               dwhite@askewmazelfirm.com;ericanunez@askewmazelfirm.com;maryvallejos@askewmazelfirm.com;askewmaze
               ladmin@ecf.courtdrive.com;jarratt@askewmazelfirm.com
              Edward Alexander Mazel    on behalf of Plaintiff   Yvette J. Gonzales edmazel@askewmazelfirm.com,
               dwhite@askewmazelfirm.com;ericanunez@askewmazelfirm.com;maryvallejos@askewmazelfirm.com;askewmaze
               ladmin@ecf.courtdrive.com;jarratt@askewmazelfirm.com
              Jacqueline Ortiz    on behalf of Plaintiff    Yvette J. Gonzales jortiz@askewmazelfirm.com,
               maryvallejos@askewmazelfirm.com;ericanunez@askewmazelfirm.com;askewmazeladmin@ecf.courtdrive.com;
               jarratt@askewmazelfirm.com
              James A Askew   on behalf of Trustee Yvette J. Gonzales jaskew@askewmazelfirm.com,
               ericanunez@askewmazelfirm.com;maryvallejos@askewmazelfirm.com;agarcia@askewmazelfirm.com;askewmaz
               eladmin@ecf.courtdrive.com;jarratt@askewmazelfirm.com
              Leonard K Martinez-Metzgar    on behalf of Plaintiff   United States Trustee
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              Michael K Daniels   on behalf of Plaintiff Martin Lopez mike@mdanielslaw.com,
               rebeccanm@gmail.com;steinhardt23@gmail.com
              Michael K Daniels   on behalf of Creditor    Estate of Nancy Richards mike@mdanielslaw.com,
               rebeccanm@gmail.com;steinhardt23@gmail.com
              Michael K Daniels   on behalf of Creditor    Merrie Chappell Law, PC mike@mdanielslaw.com,
               rebeccanm@gmail.com;steinhardt23@gmail.com
              Michael K Daniels   on behalf of Creditor    Martin Lopez, III, PC mike@mdanielslaw.com,
               rebeccanm@gmail.com;steinhardt23@gmail.com
              United States Trustee    ustpregion20.aq.ecf@usdoj.gov
              Wesley O Pool   on behalf of Defendant Kathryn Ramona Esquibel wesley@poollawfirm.com,
               mike@poollawfirm.com
              Wesley O Pool   on behalf of Debtor Kathryn Ramona Esquibel wesley@poollawfirm.com,
               mike@poollawfirm.com
              Yvette J. Gonzales    yjgllc@yahoo.com, yg@trustesolutions.net
                                                                                             TOTAL: 16
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  VHWWOHPHQWDJUHHPHQWQHJRWLDWHGDQGVLJQHGZKHQWKH'HEWRUZDVUHSUHVHQWHGE\SULRUFRXQVHO

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  WKH'HEWRUUHJDUGLQJKHUDUJXPHQWWKDWWKH6WDWH'LVWULFW&RXUWFRPPLWWHGHUURUE\FRQGXFWLQJ

  WKHFKDUJLQJOLHQKHDULQJH[SDUWHZLWKRQO\WKH'HEWRUDQGKHUIRUPHUDWWRUQH\VSUHVHQW7KH

  &RXUWRI$SSHDOVGHFOLQHGWRDGGUHVVWKH'HEWRU¶VGXHSURFHVVFKDOOHQJHPDGHRQWKHJURXQGV

  WKDWWKHGLVWULFWMXGJHZDVELDVHGDQGWKHWULDOSURFHHGLQJVZHUHXQIDLUEHFDXVHWKH'HEWRUGLGQRW




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  SUHVHUYHWKHLVVXHIRUDSSHDODQGEHFDXVHWKH'HEWRUSURYLGHGQRFLWDWLRQVWRWKHUHFRUGRUWR

  OHJDODXWKRULW\LQVXSSRUWRIKHUDUJXPHQW

         ,QDGGLWLRQWKH&RXUWRI$SSHDOVIRXQGWKDWWKH'HEWRU¶VFODLPVDJDLQVWWKH/RSH])LUP

  RQDSSHDOZHUHIULYRORXVODFNHGDQ\EDVLVLQODZRUIDFWDQGZHUHPDGHLQEDGIDLWK

  &RQVHTXHQWO\WKH&RXUWRI$SSHDOVDZDUGHGWKH/RSH])LUPUHDVRQDEOHDWWRUQH\V¶IHHVDQGFRVWV

  LQFXUUHGLQGHIHQGLQJWKHDSSHDOWREHSDLGE\WKH'HEWRUEsquibel, :/DW

  7KH&RXUWRI$SSHDOVUHPDQGHGWKHPDWWHUWRWKH6WDWH'LVWULFW&RXUW³WRGHWHUPLQHUHDVRQDEOH

  DWWRUQH\IHHVDQGFRVWV>WKH/RSH])LUPLQFXUUHG@RQDSSHDO´Id.%HIRUHWKH6WDWH'LVWULFW&RXUW

  GHWHUPLQHGWKHUHDVRQDEOHQHVVRIWKHDWWRUQH\IHHVDQGFRVWVWKH'HEWRUFRPPHQFHGKHU&KDSWHU

  EDQNUXSWF\FDVH7KH/RSH]&ODLPWRZKLFK0U.HOO\DQG0U6H[WRQREMHFWHGLVDFODLPIRU

  WKH/RSH])LUP¶VDWWRUQH\V¶IHHVDQGFRVWVDZDUGHGE\WKH&RXUWRI$SSHDOV

                                             ',6&866,21

        ,QWKH0RWLRQLQ/LPLQHWKH/RSH])LUPDVVHUWVWKDWWKHUXOLQJVRIWKH6WDWH'LVWULFW

  &RXUWDQGWKH&RXUWRI$SSHDOVDUHILQDORUGHUVWKDWFDQQRWEHFKDOOHQJHGDVSDUWRIWKHFODLPV

  REMHFWLRQSURFHVVEHIRUHWKLV&RXUW0U.HOO\FRXQWHUVLQKLV5HVSRQVHWRWKH0RWLRQLQ/LPLQH

  WKDWFODLPSUHFOXVLRQDQGLVVXHSUHFOXVLRQGRQRWDSSO\EHFDXVHKHZDVQRWDSDUW\WRWKHSULRU

  ODZVXLW,QDGGLWLRQ0U.HOO\DUJXHVXQGHUWKHSULQFLSOHVRIHTXLW\WKDWWKHDZDUGRIDWWRUQH\V¶

  IHHVDQGFRVWVE\WKH1HZ0H[LFR&RXUWRI$SSHDOVLVXQHQIRUFHDEOHDJDLQVWWKH'HEWRUEHFDXVH

  LWZDV³OHJDOO\XQWHQDEOHHJWKH&2$GHFLVLRQIDLOHGWRIROORZWKHODZRUWKHSURGXFW

  RIDQXQIDLUELDVHGRUFRUUXSWSURFHVVRUWKHUHVXOWRIXQHWKLFDORUWRUWLRXVFRQGXFWE\

  /RSH]´See 'RFNHW1R




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      $ )RUSXUSRVHVRIDSSO\LQJFODLPSUHFOXVLRQDQGWKHRooker-FeldmanGRFWULQHWRFODLPV
          REMHFWLRQVJRYHUQHGE\86&EDQREMHFWLQJFUHGLWRUFDQQRWDVVHUWD
          GHIHQVHWRDFODLPWKDWWKHGHEWRUZRXOGKDYHEHHQSUHFOXGHGIURPDVVHUWLQJKDGWKH
          GHEWRUREMHFWHGWRWKHFODLP

         $OORZDQFHRIFODLPVLVJRYHUQHGE\7KH&ODLP2EMHFWLRQVDUHJRYHUQHGE\

  EZKLFKVWDWHVWKDWLIDQREMHFWLRQWRDFODLPLVPDGH

          WKHFRXUWDIWHUQRWLFHDQGDKHDULQJVKDOOGHWHUPLQHWKHDPRXQWRIVXFKFODLPLQ
          ODZIXOFXUUHQF\RIWKH8QLWHG6WDWHVDVRIWKHGDWHRIWKHILOLQJRIWKHSHWLWLRQDQG
          VKDOODOORZVXFKFODLPLQVXFKDPRXQWH[FHSWWRWKHH[WHQWWKDWísuch claim is
          unenforceable against the debtor and property of the debtorXQGHUDQ\DJUHHPHQW
          RU DSSOLFDEOH ODZ IRU D UHDVRQ RWKHU WKDQ EHFDXVH VXFK FODLP LV FRQWLQJHQW RU
          XQPDWXUHG

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  HVWDWH

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          7KHHVWDWHVKDOOKDYHWKHEHQHILWRIDQ\GHIHQVHDYDLODEOHWRWKHGHEWRUDVDJDLQVW
          DQ\HQWLW\RWKHUWKDQWKHHVWDWHLQFOXGLQJVWDWXWHVRIOLPLWDWLRQVWDWXWHVRIIUDXGV
          XVXU\DQGRWKHUSHUVRQDOGHIHQVHV$ZDLYHURIDQ\VXFKGHIHQVH E\WKHGHEWRU
          DIWHUWKHFRPPHQFHPHQWRIWKHFDVHGRHVQRWELQGWKHHVWDWH

  86&6HFWLRQDOORZVDSDUW\REMHFWLQJWRDSURRIRIFODLPWRDVVHUWDVDGHIHQVH

  WRWKHFODLPDQ\GHIHQVHDYDLODEOHWRWKHGHEWRU

          $VWKH6XSUHPH&RXUWKDVH[SODLQHGE³LVPRVWQDWXUDOO\XQGHUVWRRGWR

  SURYLGHWKDWZLWKOLPLWHGH[FHSWLRQVDQ\GHIHQVHWRDFODLPWKDWLVDYDLODEOHRXWVLGHRIWKH

  EDQNUXSWF\FRQWH[WLVDOVRDYDLODEOHLQEDQNUXSWF\´Travelers Cas. & Sur. Co. of Am. v. Pac.

  Gas & Elec. Co.86FLWLQJCollier on Bankruptcy>@>E@DW

  ±IRUWKHSURSRVLWLRQ³WKDWELVJHQHUDOO\XQGHUVWRRGWRµPDNHDYDLODEOHWRWKH

  WUXVWHHDQ\GHIHQVH¶DYDLODEOHWRWKHGHEWRUµXQGHUDSSOLFDEOHQRQEDQNUXSWF\ODZ¶²LHDQ\

  GHIHQVHWKDWWKHGHEWRUFRXOGKDYHLQWHUSRVHGDEVHQWEDQNUXSWF\LQDVXLWRQWKH>VDPH




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  VXEVWDQWLYH@FODLPE\WKHFUHGLWRU´7KLVSURSRVLWLRQDSSOLHVHTXDOO\UHJDUGOHVVRIZKHWKHUD

  EDQNUXSWF\WUXVWHHDGHEWRURUDFUHGLWRUREMHFWVWRDFODLPXQGHUE

             &RQYHUVHO\DQ\GHIHQVHWRDFODLPXQDYDLODEOHWRWKHGHEWRURXWVLGHRIEDQNUXSWF\LVQRW

  DYDLODEOHWRDFUHGLWRUREMHFWLQJWRDFODLP7KHUHIRUHDFUHGLWRUWKDWREMHFWVWRDFODLPDJDLQVW

  WKHHVWDWHSXUVXDQWWREFDQQRWDVVHUWDGHIHQVHWRWKHFODLPWKDWWKHGHEWRUZRXOGKDYH

  EHHQSUHFOXGHGIURPDVVHUWLQJKDGWKHGHEWRUREMHFWHGWRWKHFODLP:KHWKHUDFODLPDJDLQVWWKH

  HVWDWHLVDOORZHGGRHVQRWGHSHQGRQZKHWKHUWKHGHEWRURUDFUHGLWRUREMHFWHGWRWKHFODLP

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                  >7@KHDZDUGRIIHHVLVFRQWLQJHQWRQGHWHUPLQLQJWKHDPRXQWRIIHHVWKDWDUH
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                  0DUWLQ/RSH]SUHYLRXVO\EURXJKWDPRWLRQLQWKHGLVWULFWFRXUWRXWOLQLQJKLV
              FUHGLWRU FODLP ZKLFK LQFOXGHG DPRQJ RWKHU SUREOHPV LQFRQVLVWHQW QXPEHUV
              RIIHUHGQRSURRIWKDWWKHDWWRUQH\¶VIHHVFODLPHGZHUHUHDVRQDEOHDQGIDLOHGWRSURYH
              FODLPDQWDFWXDOO\SDLGWKHVXPVFODLPHGDQG
                  8QGHUSULQFLSOHVRIHTXLW\0/,,,¶VFODLPLVZKROO\XQHQIRUFHDEOHDJDLQVW
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              ,QKLV5HVSRQVHWR0RWLRQLQ/LPLQH0U.HOO\DVVHUWVWKDWKHREMHFWVWRWKH/RSH]FODLP

  QRWRQO\DVWRWKHUHDVRQDEOHQHVVRIWKHDPRXQWRIOHJDOIHHV0U/RSH]LQFXUUHGGHIHQGLQJWKH

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              RU&RXUWRI$SSHDOVRU
                  7KH/RSH]FODLP³LVSDUWRIDIUDXGXOHQWVFKHPHWRFUHDWHVRPXFKERJXV
              GHEW DV WR IRUFH WKH 'HEWRU LQWR EDQNUXSWF\ ZKHUH E\ LQIODWLQJ WKHLU FODLPV WKH
              FRQVSLUDWRUVVRXJKWWRWDNH'HEWRU¶VKRPHDVKHUODVWVXEVWDQWLDOPDULWDODVVHWDQG
              WKDWWKH&2$ZDVDODWHMRLQLQJEXWNQRZLQJSDUWLFLSDQWLQWKHVFKHPH´

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       & 0U.HOO\DQG0U6H[WRQDUHEDUUHGIURPDVVHUWLQJFODLPVDJDLQVWWKH/RSH])LUPDV
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           6WDWH'LVWULFW&RXUWRU&RXUWRI$SSHDOVLQFRQQHFWLRQZLWKWKH6WDWH'LVWULFW&RXUW¶V
           DZDUGRIDWWRUQH\V¶IHHVWRWKH/RSH])LUP

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  $SSHDOVKDYHQRSUHFOXVLYHHIIHFWRQWKHGHIHQVHVWRWKH/RSH]&ODLPVXPPDUL]HGLQKLV

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  VWDQGVLQDQREHWWHUSRVLWLRQLQREMHFWLQJWRWKH/RSH]&ODLPWKDQLIWKH'HEWRUKDGREMHFWHGWR

  WKHFODLP7KHUHIRUHLIWKH'HEWRU¶VDVVHUWLRQRIDGHIHQVHWRWKH/RSH]&ODLPZRXOGKDYHEHHQ

  EDUUHGE\FODLPRULVVXHSUHFOXVLRQRXWVLGHRIEDQNUXSWF\0U.HOO\¶VDVVHUWLRQRIWKHGHIHQVH

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  6WDWHJDLQVQDWLRQZLGHIRUFH´Baker by Thomas v. Gen. Motors Corp.86

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  FODLPSUHFOXVLRQ´Potter v. Pierce106&3G8QGHU1HZ0H[LFR

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  IRUDQREMHFWLRQWRDSURRIRIFODLP1HYHUWKHOHVVEHFDXVHWKH/RSH])LUPKDVQRWDUJXHGWKDW0U.HOO\RU0U
  6H[WRQZDLYHGREMHFWLRQVQRWDVVHUWHGLQWKHLUREMHFWLRQVWRWKH/RSH]&ODLP'RFNHW1RVDQGWKH&RXUW
  ZLOODGGUHVVZKHWKHUWKHLVVXHVPD\EHUDLVHGDVDGHIHQVHWRWKH/RSH]&ODLP

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   ODZFODLPSUHFOXVLRQEDUVUHOLWLJDWLRQRIDFODLPLIWKHIROORZLQJIRXUHOHPHQWVDUHPHW³

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   SDUWLHVLQWKHWZRVXLWVDUHWKHVDPHDQGWKHFDXVHRIDFWLRQLVWKHVDPHLQERWKVXLWV´Id.,Q

   DGGLWLRQ³>L@IDODZVXLWLQYROYHVWKHVDPHWUDQVDFWLRQDVDSULRUFODLPDQGWKHRWKHUFODLP

   SUHFOXVLRQHOHPHQWVDUHPHWDSODLQWLIILVEDUUHGIURPUDLVLQJWKRVHOHJDOWKHRULHVWKDWKHDFWXDOO\

   UDLVHGLQWKHSULRUDFWLRQDVZHOODVDQ\WKHRULHVWKDWKHFRXOGKDYHUDLVHG´Moffat v. Branch

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   PXVWKDYHKDGDIXOODQGIDLURSSRUWXQLW\WROLWLJDWHWKHFODLPLQWKHHDUOLHUSURFHHGLQJZKLFK

   PHDQVWKDWWKHFODLPUHDVRQDEO\FRXOGDQGVKRXOGKDYHEHHQEURXJKWGXULQJWKHHDUOLHU

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   WKHDWWRUQH\V¶IHHVDZDUGHGE\WKH&RXUWRI$SSHDOV$VDSSOLHGWRWKHGHFLVLRQVRIWKH6WDWH

   'LVWULFW&RXUWDQGWKH&RXUWRI$SSHDOVFODLPSUHFOXVLRQEDUVDOOFODLPVDJDLQVWWKH/RSH])LUP

   DVVHUWHGDVGHIHQVHVWRWKH/RSH]&ODLPWKDWZHUHUDLVHGRUWKDWFRXOGKDYHEHHQUDLVHGEHIRUH

   WKH6WDWH'LVWULFW&RXUWDQGWKH&RXUWRI$SSHDOVLQFRQQHFWLRQZLWKWKHDZDUGRIDWWRUQH\V¶IHHV

   WRWKH/RSH])LUPE\HLWKHUFRXUW

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   DZDUGLQJWKH/RSH])LUPUHDVRQDEOHIHHVDQGFRVWVLQFXUUHGLQWKHDSSHDOLVDOVRDILQDORUGHU

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   QHFHVVDU\WRLPSOHPHQWLWLVDFDVHLQZKLFKFRVWVUHPDLQWREHDVVHVVHGLQIDYRURIWKHSUHYDLOLQJ

   SDUW\7KHSHQGHQF\RISURFHHGLQJVWRIL[WKHDPRXQWRIFRVWVGRHVQRWUHQGHUWKHMXGJPHQW

   QRQILQDO´Budinich v. Becton Dickinson & Co.866&W

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   GRHVQRWUHPHG\WKHLQMXU\JLYLQJULVHWRWKHDFWLRQDQGLQGHHGLVRIWHQDYDLODEOHWRWKHSDUW\

   GHIHQGLQJDJDLQVWWKHDFWLRQ´

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   PHULWV7KH6WDWH'LVWULFW&RXUWUXOHGRQWKHUHDVRQDEOHQHVVRIWKH/RSH])LUP¶VOHJDOIHHV

   ZKLFKHQWDLOHGDQH[DPLQDWLRQRIWKHTXDOLW\RIOHJDOVHUYLFHVSURYLGHGE\WKH/RSH])LUPWRWKH

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   DSSHDOZHUH³IULYRORXVODFNLQJDQ\EDVLVLQODZRUIDFWDQG>ZHUH@SXWIRUWKLQEDGIDLWK´

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   OLWLJDQWVDQGDWWRUQH\VLQRUGHUWRUHJXODWHWKHLUGRFNHWSURPRWHMXGLFLDOHIILFLHQF\DQGGHWHU




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   RQWKHVHLVVXHVUDLVHGE\WKH'HEWRUDUHMHFWHG'HEWRU¶VDUJXPHQWVUHODWLQJWRZKHWKHUWKH/RSH])LUPZDV
   SURSHUO\JUDQWHGDFKDUJLQJOLHQGXULQJWKHGLYRUFHSURFHHGLQJEGHFOLQHGWRDGGUHVVZKHWKHU0U/RSH]
   FRPPLWWHGHWKLFDOYLRODWLRQVEHFDXVHWKH'HEWRUFLWHGQRWKLQJLQWKHUHFRUGDQGQRDXWKRULW\DVDEDVLVIRUKHUFODLP
   DQGFGHFOLQHGWRDGGUHVVWKHZKHWKHUWKH6WDWH&RXUW-XGJHFRPPLWWHGMXGLFLDOPLVFRQGXFWEHFDXVHWKH'HEWRUGLG
   QRWSUHVHUYHWKHLVVXHIRUDSSHDODQGGLGQRWSURYLGHFLWDWLRQVWRWKHUHFRUGRUWRDQ\DXWKRULW\Esquibel, :/
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   WKDW0U.HOO\ZDVQRWDSDUW\WRWKHSULRUOLWLJDWLRQ$VGLVFXVVHGLQ6HFWLRQ$DERYHDFUHGLWRU

   WKDWREMHFWVWRDFODLPDJDLQVWWKHHVWDWHXQGHUEFDQQRWDVVHUWDGHIHQVHWRWKHFODLP

   WKDWWKHGHEWRUZRXOGKDYHEHHQSUHFOXGHGIURPDVVHUWLQJKDGWKHGHEWRUREMHFWHGWRWKHFODLP,I

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   FODLPOLNHZLVHLVEDUUHG

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   HQXPHUDWHGLQWKH5HVSRQVHWRWKH0RWLRQLQ/LPLQHDUHSDUWRIWKHVDPHFDXVHRIDFWLRQ

   DGMXGLFDWHGE\WKH6WDWH'LVWULFW&RXUWDQGWKH&RXUWRI$SSHDOV8QGHU1HZ0H[LFRODZD

   VLQJOHFDXVHRIDFWLRQIRUFODLPSUHFOXVLRQSXUSRVHVHQFRPSDVVHVDOOLVVXHVWKDWDULVH³RXWRID

   FRPPRQQXFOHXVRIRSHUDWLYHIDFWV´Potter106& 7KH&RXUWSUDJPDWLFDOO\

   FRQVLGHUVZKHWKHUWKHIDFWVKROGDFRPPRQQXFOHXVE\H[DPLQLQJ³KRZWKH\DUHUHODWHGLQ

   WLPHVSDFHRURULJLQZKHWKHUWDNHQWRJHWKHUWKH\IRUPDFRQYHQLHQWWULDOXQLWDQG

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   XQGHUVWDQGLQJRUXVDJH´Id. 




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   WREHµIULYRORXV¶EXWGLGQRWµGHWHUPLQH¶LWWREHIULYRORXVDVLWZDVQRWIULYRORXVDVDPDWWHURIODZDQGRIFRPPRQ
   VHQVH´7KH&RXUWGLVDJUHHV7KH1HZ0H[LFR&RXUWRI$SSHDOVVWDWHGWKDWLWDJUHHGZLWKWKH/RSH])LUP¶V
   DUJXPHQWWKDWWKHFODLPVDJDLQVWWKH/RSH])LUPZHUHIULYRORXVWKHODQJXDJHXVHGWRPDNHWKDWGHWHUPLQDWLRQGRHV
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           ,QPotter v. PierceWKH1HZ0H[LFR6XSUHPH&RXUWUXOHGWKDWDILQDOIHHDZDUGWKDW

   GHWHUPLQHGWKHUHDVRQDEOHQHVVRIDQDWWRUQH\¶VIHHVLQEDQNUXSWF\FRXUWVDWLVILHGWKHVDPHFDXVH

   RIDFWLRQUHTXLUHPHQWWRDSSO\FODLPSUHFOXVLRQWRDOHJDOPDOSUDFWLFHFODLPLQYROYLQJWKHVDPH

   OHJDOVHUYLFHVEHFDXVHWKHUHDVRQDEOHQHVVRIWKHDWWRUQH\¶VIHHVDQGWKHPDOSUDFWLFHFODLPZHUH

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   XQLW³EHFDXVHWKHEDQNUXSWF\FRXUWLVDOUHDG\UHTXLUHGWRFRQVLGHUWKHTXDOLW\RI>WKHOHJDO@

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   3HWLWLRQHUGLGUDLVHPDOSUDFWLFHDOOHJDWLRQVLQKLVREMHFWLRQVWR5HVSRQGHQWV¶IHHV´Id.LQWHUQDO

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   IHHVDQGFRVWVFKDUJHGLQLWVUHSUHVHQWDWLRQRIWKH'HEWRULQWKHGLYRUFHSURFHHGLQJZHUH

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         )LUVWDQ\FODLPVWKDWWKH/RSH])LUPHQJDJHGLQWRUWLRXVFRQGXFWDFWHGXQHWKLFDOO\RU

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   DSSHDOEXWDOVREHFDXVHWKH'HEWRUSURYLGHGQRFLWDWLRQVWRWKHUHFRUGRUWROHJDODXWKRULW\LQ

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   SURFHHGLQJVDQGKHUMXGLFLDOPLVFRQGXFWFODLPLQWKHVWDWHFRXUWSURFHHGLQJV

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   DQG0U.HOO\IURPDWWHPSWLQJWRUHOLWLJDWHWKHSURSULHW\RIWKHGHFLVLRQVRIWKH6WDWH'LVWULFW

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   FROODWHUDODWWDFNRQWKHHQIRUFHDELOLW\RIWKH&RXUWRI$SSHDOV0HPRUDQGXP2SLQLRQ$V

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             7KH'HEWRUDQGWKHUHIRUHDOVR0U.HOO\DQG0U6H[WRQDUHEDUUHGE\WKHRooker-

   FeldmanGRFWULQHIURPPDNLQJDFROODWHUDODWWDFNLQWKLV&RXUWDJDLQVWWKHHQIRUFHDELOLW\RIWKH

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    7KHRooker-Feldman GRFWULQHLVDQDUURZGRFWULQHWKDWDSSOLHVRQO\WRWKHSDUWLHVLQYROYHGLQWKHRULJLQDOVWDWH
   FRXUWDFWLRQSee Mo's Express, LLC v. Sopkin)G±WK&LU³7KLV&RXUWKDVUHSHDWHGO\
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   Rooker–FeldmanDIWHUDOOEDUVIHGHUDOGLVWULFWFRXUWVIURPH[HUFLVLQJDSSHOODWHMXULVGLFWLRQRYHUVWDWHFRXUW
   MXGJPHQWVDQGDSHUVRQZRXOGJHQHUDOO\KDYHQREDVLVRUULJKWWRDSSHDODMXGJPHQWWRZKLFKWKDWSHUVRQZDVQRW
   DSDUW\´7KH&RXUWLQWKHFODLPVREMHFWLRQSURFHVVLVOLPLWHGE\EWRWKRVHGHIHQVHVDYDLODEOHWRWKH
   'HEWRUUHJDUGLQJWKHHQIRUFHDELOLW\RIWKH/RSH]&ODLP,QDSSO\LQJRooker-FeldmanWKH&RXUWLVRQO\UHDFKLQJWKH
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   OLWLJDWLRQSURFHVV:KHUHDGHEWRUREMHFWVWRDFODLPWKDWLVEDVHGRQDVWDWHFRXUWMXGJPHQW

   WKHUHE\DWWHPSWLQJWRFROODWHUDOO\DWWDFNWKHMXGJPHQWLQEDQNUXSWF\FRXUWWKHRooker–Feldman

   GRFWULQHEDUVWKDWDWWDFN´

             7KHRooker-Feldman GRFWULQHEDUVVWDWHFRXUWORVHUVIURP³FRPSODLQLQJRILQMXULHV

   FDXVHGE\VWDWHFRXUWMXGJPHQWVUHQGHUHGEHIRUHWKH>IHGHUDO@FRXUWSURFHHGLQJVFRPPHQFHGDQG

   LQYLWLQJ>IHGHUDO@FRXUWUHYLHZDQGUHMHFWLRQRIWKRVHMXGJPHQWV´Exxon Mobil Corp. v. Saudi

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              FRQVLGHULQJ FODLPV DFWXDOO\ GHFLGHG E\ D VWDWH FRXUW DQG FODLPV LQH[WULFDEO\
              LQWHUWZLQHGZLWKDSULRUVWDWHFRXUWMXGJPHQW$FODLPLVLQH[WULFDEO\LQWHUWZLQHGLI
              WKHVWDWHFRXUWMXGJPHQWcaused, DFWXDOO\DQGSUR[LPDWHO\WKHinjuryIRUZKLFKWKH
              IHGHUDOFRXUWSODLQWLIIVHHNVredress.

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   IUDXGXOHQWVFKHPHWRLQIODWHFODLPVDJDLQVWWKH'HEWRUWRIRUFHKHULQWREDQNUXSWF\7KDWJURXQG

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   DUJXPHQWVLQYLWHWKLV&RXUWWRVLWDVDQDSSHOODWHFRXUWWRWKH1HZ0H[LFR&RXUWRI$SSHDOVWR




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